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                           UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF SOUTH CAROLINA


In re:                                                  Case No. 18-02053-hb
                                                        Case No. 18-02054-hb
CSC Developers, LLC
Chandelle Runway, LLC
                                                        Chapter 7
                Debtors.


                         STIPULATION OF PARTIES
          TERMINATING RESPONSE DEADLINES AND NOTICE OF HEARING

           This Stipulation (the “Stipulation”) by and between Doug Cobb and John Stewart
    (Mr. Cobb and Mr. Stewart shall be collectively, “Movants”) as the common membership
    of CSC Developers, LLC (“CSC”) and Chandelle Runway, LLC (“Runway” and
    collectively with CSC, “Debtors”), and Chandelle Property Owners Association, Inc.
    (“POA” and together with Movants, the “Parties”), stays any pending response deadlines
    to the Objection to the Claims of Chandelle Property Owners Association, Inc.
    (“Objection”) pending before this Court and terminates the Notice of Possible Hearing
    issued by Movants pursuant to SC LBR 9013-4.
           WHEREAS, on April 23, 2018 (the “Petition Date”), CSC along with Runway
    each filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code,
    thereby commencing the above-captioned cases (the “Chapter 11 Cases”).
           WHEREAS, this Court converted the Chapter 11 Cases to cases under
    Chapter 7 of the Bankruptcy Code on July 8, 2019 (the “Conversion Date”). John K.
    Fort (“Trustee”) was appointed as Chapter 7 Trustee in this matter upon conversion
    to Chapter 7.
           WHEREAS, the POA has filed seven claims against the CSC Estate and a single
    claim against the Runway Estate and Movants filed an objection to all claims filed by the
    POA in both Chapter 7 matters (the “Claims Objections”).
           WHEREAS, the Parties and the Chapter 7 Trustee have entered into a term sheet
    for settlement of all claims and disputes between them, which is currently being drafted
    into a Settlement Agreement that will be noticed under Fed. R. Bankr. P. 9019.
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          NOW, THEREFORE, the Parties agree, consent, and it is hereby STIPULATED
   as follows:
          1.      The Parties agree and stipulate to stay any response deadline and terminate
   the Notice of Hearing filed by the Movants pursuant to SC LBR 9013-4 relating to the
   Claims Objections.
          2.      The Court shall remove the Claims Objections from consideration or
   further hearing without costs or prejudice. Such removal is with the right of either party,
   upon written request filed within sixty (60) days of the entry of this Stipulation to restore
   this matter to the Court’s calendar for consideration.
          3.      Upon the failure to timely request restoration of the matter, the Claims
   Objections shall be deemed dismissed without prejudice and without costs.
          4.      In the event of any ambiguity or question of intent or interpretation, this
   Stipulation shall be construed as if drafted jointly by the Parties and no presumption or
   burden of proof shall arise favoring or disfavoring any party by virtue of the authorship
   of any of the provisions of this Stipulation.
          5.      Each Party to this Stipulation shall bear its own legal fees and expenses as
   to this Stipulation and matters related thereto.
          6.      No further notice of this Stipulation is required.

          STIPULATED AND AGREED TO:


   /s/ W. Harrison Penn
   G. William McCarthy, Jr. (# 2762)
   Daniel J. Reynolds, Jr. (# 9232)
   W. Harrison Penn (# 11164)
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   /s/ Robert P. Wood
   Robert P. Wood (# 4738)
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